                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
U.S. District Court case number:               3:22-cv-00121-SLG
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 05/13/2022

Date of judgment or order you are appealing:                     06/26/2023

Docket entry number of judgment or order you are appealing:                               45
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Alaska Oil and Gas Conservation Commission




Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Zjok T. Durst                                       Date Jul 26, 2023
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Alaska Oil and Gas Conservation Commission


Name(s) of counsel (if any):
David Wilkinson, Senior Assistant Attorney General



Address: 1031 W. 4th Avenue, Suite 200, Anchorage, AK 99501
Telephone number(s): (907) 269-6612
Email(s): david.wilkinson@alaska.gov
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes   No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
ConocoPhillips Alaska, Inc.


Name(s) of counsel (if any):
Connor Royce Smith
Kevin M. Cuddy
Stoel Rives LLP (ANC)
Address: 510 L Street, Suite 500, Anchorage, AK 99501-1959
Telephone number(s): (907) 263-8427, (907) 263-8410
Email(s): connor.smith@stoel.com, kevin.cuddy@stoel.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes   No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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